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                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA


 In Re Roundup Products Liability Litigation      MDL Case No. 3:16-md-02741-VC

 This Document Relates To:                        Case No. 3:19-cv-02224-VC

 DOLORES RAMIREZ, as the surviving
 spouse and heir and DEXTER OWENS,                JOINT CASE MANAGEMENT
 individually and on behalf of others similarly   STATEMENT
 situated,

                       Plaintiffs,                CMC Date: September 19, 2024
        v.                                        Time:     2:00 p.m.
                                                  Location: Zoom Virtual Hearing
 MONSANTO COMPANY,                                Judge:    Honorable Vince Chhabria

                       Defendant.




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                       JOINT CASE MANAGEMENT STATEMENT

    1. Jurisdiction and Service

       This Court has jurisdiction over this matter pursuant to the Class Action Fairness Act of

2005, 28 U.S.C. § 1332(a)(1) and (d), because the named Plaintiffs and many putative class

members are citizens of a different state than Defendant, there are more than 100 members of the

class, and the value of the relief sought exceeds $5,000,000.00, exclusive of interest and costs.

       Defendant has been served in this matter.1

    2. Facts

       As alleged, Roundup® has been linked to an increased risk for developing Non-Hodgkin’s

Lymphoma (“NHL”) and other cancer types. Plaintiff Robert Ramirez used a concentrated mix of

Roundup® in the maintenance yard of his employer from 1999 to 2013. Mr. Ramirez was

diagnosed with NHL in 2018. After years of treatment, Mr. Ramirez died on January 8, 2024 due

to issues associated with his exposure to Roundup and subsequent treatments.2 On February 3,

2021, Plaintiff Dexter Owens was added as an additional class representative to the complaint in

this matter. Mr. Owens sprayed Roundup® for a month as part of his job and developed a rash on

his hand. Mr. Owens has not been diagnosed with NHL but alleges an increased risk of developing

NHL.

       Defendant denies these allegations.




1
 For clarity, the Third Amended Complaint (“TAC”) in this Ramirez action originally named
two defendants: Monsanto Company and Bayer Corporation. Both Defendants had been served,
however, on March 9, 2022, the Parties stipulated to dismissing without prejudice Defendant
Bayer Corporation. Monsanto Company is now the sole remaining Defendant in this case.
2
 The Court granted a Motion to Substitute Plaintiff Robert Ramirez, for his wife Dolores
Ramirez, on April 22, 2024. ECF No. 114.

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       Plaintiffs now bring forth the operative Third Amended Complaint (“TAC” or

“Complaint”) against Defendant, alleging strict liability, failure to warn, negligence and negligent

misrepresentation, and further seeking declaratory relief. As currently alleged in the operative

Complaint, Plaintiffs seek to represent two Classes: 1) All citizens of the U.S. who have been

exposed to Roundup® and have been diagnosed with NHL; and 2) All citizens of California who

have been exposed to Roundup® and have not been diagnosed with NHL. Plaintiffs’ Count V for

a Medical Monitoring Program in the Third Amended Complaint was dismissed by the Court on

August 30, 2022. However, consistent with the Court’s Order (and, Plaintiff contends, with current

case law), the Third Amended Compliant still seeks relief by way of a Medical Monitoring Class

in the Prayer for Relief.

   3. Legal Issues

       The Ramirez case presents at least the following legal issues (in no particular order):

       •   Whether the Court should certify a nationwide class of Roundup® users who have been

           diagnosed with NHL.

       •   Whether the Court should certify a California class of Roundup® users who have not

           been diagnosed with NHL.

       •   Whether the named Plaintiffs have standing to bring their claims.

       •   Whether the named Plaintiffs’ claims are timely.

       •   Whether medical monitoring is an available remedy.

   4. Motions

       Currently, no motions are pending before this Court associated with the Ramirez action.

Plaintiffs wish to seek an appropriate schedule for an eventual class certification motion. Prior

motions filed in this matter include an attempt at preliminary approval of a class wide settlement



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(detailed in Section 9, infra), which the Court denied. See ECF No. 87. Plaintiff Robert Ramirez

also had filed a Notice of Suggestion of Death on March 14, 2024 and a Motion to Substitute Party

Dolores Ramirez in place of Robert Ramirez on April 3, 2024, which was Granted by the Court

on April 22, 2024 and further amended the case caption for this matter to account “Dolores

Ramirez, as the surviving spouse and heir.”

       Plaintiffs anticipate filing a Motion for Class Certification and request the opportunity to

discuss an appropriate scheduling order.

       Defendant anticipates filing a motion to challenge Plaintiffs’ standing, Daubert motions to

challenge any experts put forward by Plaintiffs, a summary judgment motion, and other motions

as may be appropriate.

   5. Amendment of Pleadings

       Plaintiffs do not anticipate further amendment of the Complaint. Defendant filed an

Answer on September 13, 2022.

   6. Evidence Preservation

       The parties certify that they have reviewed the Guidelines Relating to the Discovery of

Electronically Stored Information (“ESI Guidelines”). The parties have met and conferred

pursuant to Federal Rule of Civil Procedure 26(f) regarding reasonable and proportionate steps

taken to preserve evidence related to the issues reasonably evident in this action.

   7. Disclosures

       Pursuant to an initial agreement, the parties have waived initial disclosures.

   8. Discovery

       Plaintiffs’ counsel in the Ramirez action have access to the documents associated with this

multidistrict litigation (“MDL”) due to the firm’s position in the MDL. Plaintiff Robert Ramirez



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submitted his completed Plaintiff Fact Sheet (“PFS”), signed and dated Authorizations, and all

responsive documents in Plaintiff’s possession, including all medical records, to Defendant

through the online MDL Centrality system. Mr. Owens’s medical records relating to his injury are

available. While no specific deadline to produce has been set, Mr. Owens is ready to produce these

medical records pursuant to the applicable confidentiality and protective order and rules and/or at

the direction of the Court.

        Defendant will need to conduct discovery related to Plaintiffs’ forthcoming class-

certification motion, including but not limited to deposition of the named Plaintiffs. Defendant

also reserves the right to take any other discovery to which it is entitled, including discovery related

to Plaintiffs’ standing.

    9. Class Actions

        On September 5, 2019, as part of the proceedings held before this Multidistrict Litigation

(“MDL”) Court, Plaintiffs and Defendant jointly requested that the Ramirez action be removed

from the MDL “waves” process, and the Court granted this request. ECF No. 12. On June 24,

2020, Plaintiffs’ counsel filed a First Amended Complaint in this matter. Plaintiffs’ counsel

concurrently filed its first Motion for Preliminary Approval of Class Settlement. After the Court

issued Pretrial Order (“PTO”) No. 226, Plaintiffs’ counsel ultimately withdrew the First Motion

for Preliminary Approval, and related pleadings.

        On February 3, 2021, Ramirez Plaintiffs’ counsel stipulated with Defendant and filed a

Second Amended Complaint. Plaintiffs concurrently filed its second Motion for Preliminary

Approval of Proposed Class Settlement. The Court thereafter issued and amended a briefing

schedule on separate occasions (at the request of third parties) and ultimately set the hearing for

May 19, 2021. On March 3, 2021, Plaintiffs amended certain provisions and terms to the proposed



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operative Settlement. On May 26, 2021, the Court issued Pretrial Order No. 235, which denied the

Second Motion for Preliminary Approval for various reasons identified during the May 19, 2021

hearing.

       Plaintiffs filed the operative Third Amended Complaint (“TAC”) on November 30, 2021.

Plaintiffs bring forth this class action Complaint against the Defendant alleging causes of action

under strict liability, failure to warn, negligence and negligence misrepresentation, and declaratory

relief. Currently, Plaintiffs seek to represent two Classes: 1) All citizens of the U.S. who have been

exposed to Roundup® and have been diagnosed with NHL; and 2) All citizens of the California

who have been exposed to Roundup® and have not been diagnosed with NHL. Plaintiffs’ Prayer

for Relief seeks to establish a Medical Monitoring program.

       Plaintiffs’ counsel has reviewed Procedural Guidance for Class Action Settlements

(https://cand.uscourts.gov/forms/procedural-guidance-for-class-action-settlements/) and, pursuant

to L.R. 16-9(b), contend this action is maintainable as a class action under Fed. R. Civ. P. 23.

       Defendant’s counsel has reviewed Procedural Guidance for Class Action Settlements

(https://cand.uscourts.gov/forms/procedural-guidance-for-class-action-settlements/) and, pursuant

to L.R. 16-9(b), Defendant contends that this case is not maintainable as a class action under Fed.

R. Civ. P. 23. Defendant contends that the related cases described in paragraph 10 below are not

maintainable as class actions under Fed. R. Civ. P. 23.

    10. Related Cases

       Two actions related to the first-filed Ramirez action, and part of this MDL, are listed

below:3




3
 The Court has set a CMC for both the Sheller and the Perez-Hernandez matters for the same
date and time as the Ramirez action herein.

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       •       On September 30, 2019, a class action complaint was filed in the United States

District Court for the Southern District of Indiana and transferred to this District Court. The Sheller

complaint asserts a claim for negligence and seeks relief by certifying the Medical Monitoring

Class, for costs of the medical monitoring, and for reasonable attorneys’ fees. Aaron Sheller v.

Bayer AG, et al., No. 3:19-cv-07972 (N.D. Cal. 2019).4 The Plaintiff Aaron Sheller alleges that

he sprayed 300-700 gallons of Roundup® on 1,000 to 3,000 acres of land twice and year for 15

years as part of his occupation. He alleges that he wore gloves until 2018 and then began wearing

respiratory gear and using charcoal filters. Sheller alleges that he is at an increased risk of

developing NHL and other illnesses. Sheller seeks to certify a class of all agricultural and

commercial users of Roundup® in Arizona, Arkansas, California, Colorado, District of Columbia,

Florida, Illinoi, Indiana, Maryland, Massachusetts, Missouri, Montana, New Jersey, Ohio,

Pennsylvania, Utah, and West Virginia.

       •       On September 26, 2023, a class action complaint was filed in this District Court

entitled Perez-Hernandez, et al. v. Bayer Aktiengesellschaft, et al., No. 3:24-cv-01736 (N.D. Cal.

2023).5 The action was transferred to the Central District of California on February 16, 2024 and

returned to this Court as a “tag along” action by the United States Judicial Panel on Multidistrict

Litigation (“JPML”) and Conditional Transfer Order No. 451. The Complaint was amended on

July 30, 2024, and asserts claims for negligence or negligent misrepresentation, violation of the

California Unfair Competition Law, and declaratory relief. The Complaint seeks compensatory




4
 Plaintiffs’ counsel of record for the Sheller action includes: Elizabeth Fegan and others at
FEGAN SCOTT LLC, RILEY WILLIAMS & PIATT, LLC, SHINDLER, ANDERSON, GOPLERUD &
WEESE, P.C., and CATE, TERRY & GOOKINS LLC.
5
  Plaintiffs’ counsel of record for the Perez-Hernandez action includes: Robert Lieff, and others
at law firms JOSEPH SAVERI LAW FIRM, LLP and THORNTON LAW FIRM LLP.

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damages, economic damages, pre- and post-judgment interest, and cost and reasonable attorneys’

fees. Plaintiffs Jonas Perez-Hernandez and Isabel Paz-Hernadez both allege that they were exposed

to Roundup® as part of their agricultural work over a period of 19 years. They allege an increased

risk of developing NHL. They seek to certify a California class of agricultural workers, landscapers

and groundskeepers who (1) were occupationally exposed to Roundup® for ten or more lifetime

exposure days prior to June 21, 2024, (2) are not diagnosed with NHL or under the care of a

physician for suspected NHL, and (3) have not commenced a lawsuit or retained counsel to pursue

claims related to Roundup® exposure.

       Defendant wishes to discuss with the Court the efficient disposition of this case and Sheller

and Perez-Hernandez.

       Plaintiff Robert Ramirez had further initiated a state court action and originally filed it in

San Francisco County Superior Court which was then added to Roundup Products Cases, JCCP

4953 in the Alameda County Superior Court on August 27, 2019 and stayed in the San Francisco

County Superior Court: Robert U. Ramirez, et al. v. Monsanto Company, et al., Case No. CGC-

19-578712.

   11. Relief

       Plaintiffs bring forth the operative Complaint against the Defendant alleging strict liability,

failure to warn, negligence and negligence misrepresentation, and seeking declaratory relief.

Plaintiffs, individually and on behalf of all others similarly situated, seek 1) an order certifying

appropriate Class(es) pursuant to Fed. R. Civ. P. 23(a)(1)-(4), 23(b)(1), 23(b)(2), and/or 23(c)(4)

for the determination of common questions of law and fact regarding Defendant’s product,

knowledge, conduct, and duty, and to provide programmatic relief; and designating Plaintiffs and

their undersigned counsel as Class Representatives and class counsel as appropriate; 2)



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compensatory damages, and/or, exemplary, punitive, and statutory penalties and other monetary

relief, including interest, as allowed by law; 3) an order collaterally estopping Monsanto from

claiming no link between Roundup® and NHL; 4) appropriate declaratory, equitable, and/or

injunctive relief according to proof; 5) an award of reasonable attorneys’ fees and costs incurred

in this action; and 6) such other and further relief as the Court deems just and proper. As noted in

Section 2, supra, the Ramirez action still seeks relief by way of a Medical Monitoring Class.

        Defendant opposes Plaintiffs’ claims for relief. In particular, Defendant contends that

medical monitoring would not be an appropriate form of relief, that all Plaintiffs’ claims lack merit,

and that class certification is not appropriate.

    12. Settlement and ADR

        Plaintiffs continue to be open to some form of class-wide relief. Plaintiffs are willing to

participate in the Special Master Program established by Pretrial Order No. 240 as appropriate.

        Defendant does not believe that this case is appropriate for class-wide resolution at this

time.

    13. Other References

        This case has already been referred by the Judicial Panel on Multidistrict Litigation to this

MDL, No. 2741.

    14. Narrowing of Issues

        Plaintiffs do not believe any issue can be narrowed at this juncture of the case.

        Defendant contends that the Court can narrow the issues by addressing Plaintiffs’ standing

at the outset.

    15. Scheduling




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       There is no trial date set. As noted in Section 4, supra, Plaintiffs wish to seek an appropriate

schedule for an eventual class certification motion. Any eventual trial and related scheduling will

depend on the Court’s ruling on class certification issues that may be raised.

       Defendant wishes to discuss with the Court the scheduling of this case and the related cases

described in paragraph 10 above. In particular, Defendant wishes to discuss whether certain global

issues, such as standing, can be resolved first.

   16. Trial

       The length of the trial will depend in any class ruling(s).

   17. Disclosure of Non-party Interested Entities or Persons

       The Parties in Ramirez have filed the “Certification of Interested Entities or Persons”

required by L.R. 3-15. See ECF Nos. 9, 116.

   18. Professional Conduct

       Plaintiffs’ and Defendant’s counsel of record have reviewed the Guidelines for

Professional Conduct for the Northern District of California.


                                                       Respectfully submitted,

 Dated: September 12, 2024                             /s/ William Audet
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                                                       Mark E. Burton, Jr. (SBN 178400)
                                                       Ling Y. Kuang (SBN 296873)
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                                                       Counsel for Plaintiffs Ramirez and Owens



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Dated: September 12, 2024                         s/ John J. Rosenthal

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                                                  Counsel for Defendant Monsanto Co.


                                           Attestation

       I the undersigned, am the ECF user whose identification and password are being used

to file this document. I hereby attest and represent, in compliance with LR 5-1(i)(3), that all

other signatories have concurred in the filing of the document.


                                                              /s/ William Audet
                                                              William M. Audet




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